
PER CURIAM.
We affirm appellant’s conviction and sentence for sale of cocaine. We vacate his conviction and sentence for possession of cocaine on the authority of V.A.A. v. State, 561 So.2d 314 (Fla. 2d DCA 1990). As in V.A.A., we certify to the Florida Supreme Court the following question of great public importance:
WHEN A DOUBLE JEOPARDY VIOLATION IS ALLEGED BASED ON THE CRIMES OF SALE AND POSSESSION (OR POSSESSION WITH INTENT TO SELL) OF THE SAME QUANTUM OF CONTRABAND AND THE CRIMES OCCURRED AFTER THE EFFECTIVE DATE OF SECTION 775.021, FLORIDA STATUTES (1988 SUPP.), IS IT IMPROPER TO CONVICT AND SENTENCE FOR BOTH CRIMES?
SCHOONOVER, C.J., and CAMPBELL and FRANK, JJ., concur.
